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                               UNITED STATES BANKRUPTCY COURT

                                 EASTERN DISTRICT OF LOUISIANA

                                       *
   IN RE:                              *                               CASE NO.: 17-12870
                                       *
   REILLY-BENTON COMPANY, INC., *                                      JUDGE MEREDITH S. GRABILL
                                       *
               Debtor                  *                               CHAPTER 7
                                       *
   *************************************

           SUPPLEMENTAL BRIEF REGARDING THE NEED FOR ADVERSARY
          PROCEEDINGS IN CONNECTION WITH MOTIONS FOR THIRD PARTY
             RELEASES AND INJUNCTIVE RELIEF FILED BY THE TRUSTEE

           The Landry & Swarr Creditors, through undersigned counsel, respectfully submit this

   Supplemental Brief Regarding the Need for Adversary Proceedings in Connection with Motions

   for Third Party Releases and Injunctive Relief Filed by the Trustee and, in support, represent as

   follows:

           1.       At the conclusion of the January 11, 2021 status conference on the Motions to

   Release Insurers,1 the Court offered the parties the opportunity to further brief whether the motions

   may proceed as contested matters or must be filed as adversary proceedings. A continued status

   conference is scheduled for Tuesday, January 26, 2021 at 1:30 p.m.

           2.       An adversary proceeding is required to obtain injunctive relief. Fed. R. Bankr. P.

   7001(7) (“[t]he following are adversary proceedings: . . . (7) a proceeding to obtain an injunction

   or other equitable relief, except when a chapter 9, chapter 11, chapter 12 or chapter 13 plan



   1
     “Motions to Release Insurers” refers to the Trustee’s Motion for an Order Approving Settlement Agreement
   Between the Chapter 7 Trustee for Reilly-Benton Company, Inc. and the Louisiana Insurance Guaranty Association
   [ECF No. 48] (the “LIGA Motion”) and the Trustee’s Motion for an Order (A) Approving Settlement Agreement and
   Policy Release between the Chapter 7 Trustee for Reilly-Benton Company, Inc. and the Century Parties, (B)
   Approving Sale of Insurance Policies to the Century Parties Free and Clear of All Interests, and (C) Entering
   Injunction to Enforce the Free and Clear Aspect of the Sale of the Century Policies (the “Century Motion”) [ECF
   No. 56] filed by David V. Adler, Chapter 7 Trustee for the estate of Reilly-Benton Company, Inc.

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   provides for the relief.”). See Zahn Farms v. Key Bank of New York (In re Zahn Farms), 206 B.R.

   643, 645 n. 1 (2d Cir. B.A.P. 1997); Feld v. Zale Corp. (In re Zale Corp.), 62 F.3d 746, 762–63

   (5th Cir. 1995) (concluding that a proposed settlement of an insurance policy which required an

   injunction preventing parties from suing the insurer could not be approved by motion, but required

   an adversary proceeding); In re Martin, 268 B.R. 168 (Bankr. E.D. Ark. 2001), aff’d, 271 B.R.

   331 (B.A.P. 8th Cir.) (debtor may not obtain injunction by filing a motion, but had to file an

   adversary proceeding). This requirement is not a mere technicality. The purpose is to protect the

   parties’ entitlement to “the due process solemnities indicative of the significance of the issues

   litigated. In re Futrell, 69 B.R. 378, 381 (Bankr. W.D. La. 1987).

          3.      Here, there is no dispute that the Trustee has requested an extraordinary injunction

   that would bar plaintiffs from pursuing claims against nondebtors LIGA and certain insurance

   companies. The motions must proceed as adversary proceedings.

          4.      In an effort to avoid further expense and delay, undersigned counsel advised the

   Trustee and the insurers that plaintiffs are willing to proceed as follows:

               a) The Motions to Release Insurers will be converted to separate adversary
                  proceedings. The Court will assign separate docket and adversary case numbers
                  for each motion.

               b) Plaintiffs will file responsive pleadings within twenty-one (21) days, consistent
                  with Rule 12 of the Federal Rules of Civil Procedures.

               c) All other rights reserved.

          5.      Accordingly, the Trustee and insurers cannot genuinely complain about the burden

   of converting these matters to adversary proceedings. Summonses will not have to be issued or

   served and they will not be required to prepare or file new complaints.

          6.      The import of the adversary rules cannot be ignored in complicated litigation like

   this case, as counsel for the US Trustee acknowledged at the most recent status conference. The


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   insurers, with the assistance of the Trustee, are trying to improperly use chapter 7 bankruptcy of a

   defunct entity to rid themselves of direct liability for tens of thousands of claims. Many serious

   cancer claims are implicated, although plaintiffs doubt the number is near 18,000 alleged by

   movants. The Debtor will not benefit because it has not had operations for years and has no

   intention to resume operations and will not receive a discharge. The pretext offered is that there

   exists only a limited source of proceeds that will be exhausted by the claims. First, this still results

   in a net zero impact for the estate. Plaintiffs will collect from the insurers outside of bankruptcy

   against policy proceeds, resulting in a reduction of their claims against the estate. There is no

   impact on the bankruptcy estate’s balance sheet. The estate has no right to the liability policy

   proceeds and would never benefit from such proceeds unless and until the proceeds are paid to a

   plaintiff. Second, the accounting argument is based on the faulty premise that these policies can

   be exhausted, which has been rejected by the Louisiana Court of Appeal, at least with regard to

   certain types of claims. The divergent interests of different types of claims also supports denial of

   the motions. Movants want plaintiffs whose claims are not subject to policy limits to share with

   claimants whose claims may be subject to exhaustion, clearly in violation of the equality and anti-

   discrimination policies of the Bankruptcy Code. Plaintiffs would also be forced to share the

   proceeds of their direct claims with bankruptcy administrative claims, which, of course, would not

   happen under state law.

          7.      The motions present jurisdictional and abstention questions. Bankruptcy law does

   not allow the insurers to strip plaintiffs of their direct action claims even assuming it would help

   other creditors, which it would not, because the Court has no jurisdiction over these policy

   proceeds. The Louisiana state courts have already decided these issues at to Liberty Mutual




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   Insurance Company (as an insurer of Reilly-Benton), and there are pending state court cases where

   these issues should and will be presented against LIGA and Century Indemnity.

          8.      Bottom line, the expedited contested matter rules are not equipped to handle the

   extraordinary, complicated Motions to Release Insurers filed by the Trustee.

          9.      At the status conference held on January 11, 2021, Century Indemnity expressed

   concerns about filing a formal complaint and re-serving 18,000 plaintiffs. Plaintiffs proposal

   (simply convert the pending motions to adversary complaints; waiver of service) alleviates these

   concerns. Further, it does not appear that the insurers or trustee ever served the 18,000 persons.

   The case chronology is as follows:

      10-27-2017     Petition Date

      10-27-2017     Bankruptcy Noticing Center serves “Notice of Chapter 7 Bankruptcy Case – No
                     Proof of Claim Deadline” on 18,497 persons [ECF No. 8].

      6-5-2019       Motion to Approve Certain Notice Procedures for Asbestos Claimants and
                     Other Parties in Case [ECF No. 32] (“Motion to Limit Notice”) filed by
                     Trustee.

      6-5-2019       Certificate of Service of Notice of Hearing on Motion to Limit Notice [ECF No.
                     33]. No Certificate of Service filed for Motion to Limit Notice, only for Notice
                     of Hearing. Notice of Hearing only served on list of attorneys, not on the 18,497
                     persons listed on the mailing matrix.

      7-8-2019       Order Granting Motion to Limit Notice; order only served electronically, via
                     the Court’s CM/ECF system. Neither Landry Swarr nor its clients were served.

      7-2-2020       LIGA Motion and Notice of Hearing filed. LIGA Motion not served (other than
                     CM/ECF) and Notice of Hearing served on Limited Notice List.

      7-17-2020      Rousel & Clement file objection to LIGA Motion.

      7-24-2020      Order entered continuing the LIGA Motion hearing to 8-21-2020.

      7-31-2020      Century Motion and Notice of Hearing filed. Century Motion not served (other
                     than CM/ECF), and Notice of Hearing served only on Limited Notice List.

      8-14-2020      Landry & Swarr Creditors file objection to LIGA Motion and Century Motion

      8-21-2020      Case Transferred due to retirement of Judge Brown and status conferences held

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                         by this Court thereafter.

            10.      Hence, the Court served the Notice of Bankruptcy Filing on 18,497 persons, not

   the insurers or Trustee. “Service” was made almost two (2) years before the filing of the Motions

   to Release Insurers. The Motions to Release Insurers were not served other than via the Court’s

   CM-ECF system. Only Notices of Hearing (not the Motions to Release Insurers) were served on

   law firms that may represent the 18,000 plaintiffs.

            11.      If cost of service and need to prepare a complaint are not issues why do the Trustee

   and insurers object to converting their motions to adversary proceedings? It appears the insurers

   are concerned that an adversary proceeding will thwart their efforts to win by default as to the

   18,497 plaintiffs that were not served with the Motions to Release Insurers.2 They did serve the

   notice of hearing on certain attorneys, basically giving them about ten (10) days, during the

   COVID-19 pandemic, to obtain a copy of the motion, decipher the allegations, refer back to the

   matrix listing the 18,497 plaintiffs, cross-reference with their client lists and then prepare a

   memorandum on numerous, complicated legal issues. The process is simply not fair and violative

   of basic notions of due process.

            12.      Note too that despite the unfair process, the plaintiffs did respond timely. Local

   Rule 9013-1(E) requires filing an opposition at least “seven (7) days prior to the hearing.”

   Plaintiffs filed their responses (including their objection based on failure to commence adversary

   proceedings) more than 7 days prior to the August 21, 2020 hearing on the motions. Their

   procedural objections were timely.


   2
     There may be plaintiffs who were not included in the list of 18,497 and did not know of their rights at the time the
   LIGA Motion was filed on July 2, 2020. For example, Landry & Swarr client Linda Crossland is a new
   mesothelioma plaintiff who brought claims against Employers Wassau, Liberty Mutual and Pacific Employers as
   insurers of Reilly-Benton, Inc., in the Parish of Orleans on September 16, 2020. The case was removed to federal
   court for unrelated issues and a motion to remand is currently pending. The insurers were served on October 14,
   2020. Plaintiff’s counsel’s practice is to file a mesothelioma claim as quickly as possible due to the fact that
   mesothelioma victims are terminal.

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           13.      In sum, plaintiffs are simply asking for an opportunity to defend against the

   extraordinary request to strip of them of their vested rights to liability insurance proceeds with the

   procedural protections afforded under the adversary proceeding rules, as is required by law, and

   are willing to do so without further delay or unnecessary expense on the estate.

                                                       Respectfully submitted,

                                                       CONGENI LAW FIRM, LLC


                                                       BY:      /s/Leo D. Congeni
                                                                LEO D. CONGENI (#25626)
                                                                650 Poydras Street, Suite 2750
                                                                New Orleans, LA 70130
                                                                Telephone: 504-522-4848
                                                                Facsimile: 504-910-3055
                                                                Email: leo@congenilawfirm.com

                                                       Attorneys for the Landry & Swarr Creditors3

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     The Landry & Swarr Creditors include Jerry Akes, Ben Chriswell, Christina Schlicten, and Charlene L. Steele
   surviving children of Jerry Akes Susan Arnaud (surviving spouse of Billy J. Arnaud), Lindzey Guidry, Monique
   Matt, and Ashley Credur (surviving children of Susan Arnaud), Daniel E. Bannister, Patricia A. Bannister, Shannon
   Rose Jordan, Daniel E. Bannister, Jr., Dolphus J. Bannister, Anna Kay Springer, Grayson H. Bannister (surviving
   spouse and children of Daniel E. Bannister), Donald E. Bridges, Janet Bridges (surviving spouse of Donald E.
   Bridges), Sharon Barrilleaux, Betty Ann Brinston, William Bozeman, Charles H. Brokmier, Robin Jean Nennessey
   and Rachel Janece Ranson (surviving spouse and children of Charles H. Brokmier), Geraldine Brossette, John
   Brossettte, Jr. Jacqueline Biles, Theresea Brossette and Mark Brossette (surviving spouse and children of John D.
   Brossette, Sr.) Glen Cheramie, Allen Chin, Mary Chin, Michael Chin, Kenneth Chin, Karen Chin (surviving spouse
   and children of Allen Chin), Harold Cockrell, Linda Cockrell, Rhonda Eppinette, Cynthia Hayden, and Joseph
   Cockrell (surviving spouse and children of Harold Cockrell), Linda Crossland, Charles S. DiMaggio, Betty Lou
   Boyle DiMaggio, Mary Louise DiMaggio Dutchman, Patricia Ann DiMaggio Berthlot, Susan Ann DiMaggio
   O’Neil, Charles Santo DiMaggio, Jr. and Shirley Louise DiMaggio Hellbach (surviving spouse and children of
   Charles DiMaggio) Harold Dunlap, Susan Dunlap (surviving spouse of Harold Dunlap), Owens Edge, Owens Bryan
   Edge, Jr. Christian Odadiah Edge and Jayne Edge Kotter (surviving children of Owens Edge), Doanld P. Foret,
   Gloria Kreamer Foret, Johnathan Foret, and Mason Foret (surviving spouse and children of Donald P. Foret),
   Rendon J. Francis, Lones James Gagnard, Jr., Rhonda Parson Gagnard, Lones J. Gagnard, III, Alisha Gagnard
   Lapre’ (surviving spouse and children of Raymond L. Gros, Sr.), Joseph Ray Gisclair, Arthur Gisclair (surviving
   children of Joseph Ray Gisclair), Imelda Gros, Charlene Julien, Raymond L. Gros, Jr., Andrew G. Gros, Estella J.
   Stewart, Leslie J. Gros (surviving spouse and children of Raymond L. Gros, Sr.), Harold Guarino, Leon Guidry,
   Carol B. Guidry, Don Guidry and Scott Guidry (surviving spouse and children of Leon Guidry), Linda T. Guillot,
   Herman Hartman, Darrin J. Hartman (surviving children of Herman Hartman), Gidget Hihar, Lacey Allen, Gary
   Allen, Denise Childs, Ralph Hihar, IV, and Angela Hromanik (surviving children of Gidget), Merlin J. Landry,
   Jeanne Landry Clement and Merlin P. Landry (surviving children of Merlin J. Landry), Jackie Leonard Johnny Ray
   McVoy, Joycelyn C. McVoy, Amy C. McVoy, Jared H. McVoy, and Jonathan C. McVoy (surviving spouse and
   children of Johnny Ray McVoy), James R. Mire, Frank G. Mire, Burton J. Mire, Jr., Janice Singletary, Ronald Mire,
   and Sharon Gautreau (surviving siblings of Jame R. Mire), Charles Merlin Young, Gevais Norsworthy, Hedy
   Norsworthy, Wade Norsworthy, Kevin Norsworthy, Jeff Norsworthy, and Clint Norsworthy (surviving spouse and

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                                        CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing Supplemental Brief Regarding the Need for
   Adversary Proceedings in Connection with Motions for Third Party Releases and Injunctive Relief
   Filed by the Trustee was filed electronically on January 21, 2021, resulting in service via the
   Court’s CM/ECF system as follows:
   David V. Adler
   adler_d@bellsouth.net, LA26@ecfcbis.com

   Frederick L. Bunol on behalf of Debtor Reilly-Benton Company, Inc.
   fbunol@derbeslaw.com, derbespacer@gmail.com;derbeser72443@notify.bestcase.com

   Leo D. Congeni on behalf of Creditor Landry & Swarr Creditors
   leo@congenilawfirm.com, michelle@congenilawfirm.com

   Leo David Congeni on behalf of Creditor Landry & Swarr Creditors
   leo@congenilawfirm.com, michelle@congenilawfirm.com

   Martha Y. Curtis on behalf of Interested Party Century Indemnity Company, as Successor to CCI Insurance
   Company, Seccessor to Insurance Company of North America
   mcurtis@shergarner.com

   Albert J. Derbes, IV on behalf of Trustee David V. Adler
   ajdiv@derbeslaw.com, derbespacer@gmail.com;derbeser72443@notify.bestcase.com

   Eric J Derbes on behalf of Debtor Reilly-Benton Company, Inc.
   ederbes@derbeslaw.com, derbespacer@gmail.com;derbeser72443@notify.bestcase.com

   James M. Garner on behalf of Interested Party Century Indemnity Company, as Successor to CCI Insurance
   Company, Seccessor to Insurance Company of North America
   jgarner@shergarner.com, jchocheles@shergarner.com;jstockstill@shergarner.com

   Mary S. Langston on behalf of U.S. Trustee Office of the U.S. Trustee
   Mary.Langston@usdoj.gov

   Timothy S. Madden on behalf of Interested Party Estate of Julian Paul Guidry
   tmadden@kingjurgens.com

   Timothy S. Madden on behalf of Interested Party Lori Guidry Keating
   tmadden@kingjurgens.com


   children of Young Gevais Norsworthy), Joseph Palmisano, Richelle Marie Palmisano Akers and Randy Joseph
   Palmisano (surviving children of Joseph Palmisano) Salvador Pennio, Phyllis Pennio and Sally Pennio (surviving
   spouse and children of Salvador Pennio), Naomi Pere, Melin Ponder, Hubert Riggs, Brenda Chiasson Riggs, Deesha
   Denise Riggs Lemelle, Latoya Riggs, Hubert Riggs, Jr. (surviving spouse and children of Hubert Riggs), Mary
   Sanderson, Max Shaw, Keiana Smith and Rashad Smith (surviving spouse and children of George Washington
   Smith), James Sizemore, James Coleman Sizemore, Michael Daryl Sizemore, Gary Anthony Sizemore, and Patricia
   Ann Sizemore McAbee (surviving children of James Sizemore), Andrew Stokes, Robert J. Templet, Sr., Darrell
   Templet, Robert J. Templet, Jr. (surviving children of Robert J. Templet, Sr.), Eddie Thomas, Patricia Thomas,
   Dwayne Thomas and Derrick Thomas (surviving spouse and children of Eddie Thomas), Celestine Paceley Williams
   Eldon D. Wellman, Theresa R. Wellman and Sandi Small Wood (surviving spouse and children of Eldon D.
   Wellman), Peggy Wright. Plaintiff’s counsel reserve their right to add or delete claimants to this list.

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   Timothy S. Madden on behalf of Interested Party Paul Guidry
   tmadden@kingjurgens.com

   Thomas J. Madigan on behalf of Interested Party Century Indemnity Company, as Successor to CCI Insurance
   Company, Seccessor to Insurance Company of North America
   tmadigan@shergarner.com, rtheobold@shergarner.com

   David J. Messina on behalf of Trustee David V. Adler
   messina@chaffe.com, bankruptcy@chaffe.com;laudumiey@chaffe.com

   Mark D. Plevin on behalf of Interested Party Century Indemnity Company, as Successor to CCI Insurance
   Company, Seccessor to Insurance Company of North America
   mplevin@crowell.com, cromo@crowell.com

   William S. Robbins on behalf of Interested Party Louisiana Insurance Guaranty Association
   wrobbins@stewartrobbins.com,
   kheard@stewartrobbins.com;wrobbins@ecf.courtdrive.com;kheard@ecf.courtdrive.com

   Gerolyn Roussel on behalf of Interested Party Bonnie Ann Loupe
   gerolynroussel@icloud.com

   Gerolyn Roussel on behalf of Interested Party Joseph E Courville
   gerolynroussel@icloud.com

   Gerolyn Roussel on behalf of Interested Party Lee Ann Cortez
   gerolynroussel@icloud.com

   Gerolyn Roussel on behalf of Interested Party Mary S Courville
   gerolynroussel@icloud.com

   Gerolyn Roussel on behalf of Interested Party Mavis T Courville
   gerolynroussel@icloud.com

   Gerolyn Roussel on behalf of Interested Party Michael W Courville
   gerolynroussel@icloud.com

   Gerolyn Roussel on behalf of Interested Party Sherry Tregre Cortez
   gerolynroussel@icloud.com

   Perry J. Roussel, Jr. on behalf of Interested Party Bonnie Ann Loupe
   rcfirm@rousselandclement.com

   Perry J. Roussel, Jr. on behalf of Interested Party Joseph E Courville
   rcfirm@rousselandclement.com

   Perry J. Roussel, Jr. on behalf of Interested Party Lee Ann Cortez
   rcfirm@rousselandclement.com

   Perry J. Roussel, Jr. on behalf of Interested Party Mary S Courville
   rcfirm@rousselandclement.com

   Perry J. Roussel, Jr. on behalf of Interested Party Mavis T Courville
   rcfirm@rousselandclement.com

   Perry J. Roussel, Jr. on behalf of Interested Party Michael W Courville

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   rcfirm@rousselandclement.com

   Perry J. Roussel, Jr. on behalf of Interested Party Sherry Tregre Cortez
   rcfirm@rousselandclement.com

   Office of the U.S. Trustee
   USTPRegion05.NR.ECF@usdoj.gov




                                                                   /s/ Leo D. Congeni
                                                                   ____________________________________
                                                                   LEO D. CONGENI




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